                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:14-cr-26-HSM-SKL
v.                                                    )
                                                      )
DAVID ANDREW JONES                                    )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count Two of the four-count

Superseding Indictment; (2) accept Defendant’s plea of guilty to Count Two of the Superseding

Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count Two of the Superseding

Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

find Defendant shall remain in custody until sentencing in this matter [Doc. 43]. Neither party filed

a timely objection to the report and recommendation. After reviewing the record, the Court agrees

with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

ADOPTS the magistrate judge’s report and recommendation [Doc. 43] pursuant to 28 U.S.C. §

636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count Two of the Superseding

               Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Count Two of the Superseding Indictment is

               ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count Two of the

               Superseding Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;



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            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, December 8, 2014 at 9:00 a.m. [EASTERN]

            before the Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:

                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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